           Case 1:23-cv-10684-IT Document 468 Filed 10/18/24 Page 1 of 3

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October 18, 2024

VIA CM/ECF

Hon. Indira Talwani
United States District Judge
United States District Court for the District of Massachusetts
John Joseph Moakley United States Courthouse
1 Courthouse Way
Boston, MA 02210

Re:    Servicios Funerarios GG, S.A. De C.V., v. Advent International Corporation,
       Case No.: 23-cv-10684, Proposed Schedule

Dear Judge Talwani:

        We write on behalf of Defendant and Counterclaim-Plaintiff Advent International, L.P.
f/k/a Advent International Corporation (“AIC”) in advance of this morning’s case management
conference. As Plaintiff and Counterclaim-Defendant Servicios Funerarios GG, S.A. de C.V.
(“SF”) previewed in its September 24, 2024 letter requesting this conference, the parties have met
and conferred in advance of today’s proceeding in the interest of narrowing the scheduling issues
to be discussed at the conference.

        Following that discussion, the parties are aligned that the next phase of this litigation—
conducting the depositions of the parties’ twenty fact witnesses—should proceed as follows:
(i) each party should depose at least five fact witnesses by January 17, 2025, and (ii) fact discovery,
including any remaining depositions, should conclude by January 31, 2025.

       The parties are also generally aligned on the events to follow the conclusion of fact
discovery, and differ principally on the time intervals that should separate those events.

       AIC has proposed a schedule that largely tracks the time intervals from prior schedules
issued by this Court and Judge Boal. SF has proposed a more compressed schedule. We look
forward to discussing these matters with the Court.

       For the Court’s convenience, AIC’s proposed schedule—pursuant to which this case would
be ready for trial (pending resolution of summary judgment and Daubert motions) by July 3,
2025—is attached as Appendix A.

Respectfully,



Andrew J. Rossman
CC: Counsel of record (via CM/ECF)
         Case 1:23-cv-10684-IT Document 468 Filed 10/18/24 Page 2 of 3




                           Appendix A – AIC’s Proposed Schedule

                  Event                        Date                  Interval
Parties complete at least five fact
                                              1/17/25
depositions per side (10 total).

Close of fact discovery.                      1/31/25

Plaintiff and Counterclaim-Plaintiff                    14 days after close of fact
                                              2/14/25
serve trial expert reports.                             discovery
Defendant and Counterclaim-Defendant                    14 days after opening expert
                                              2/28/25
identify rebuttal experts.                              reports served
Defendant and Counterclaim-Defendant                    21 days after rebuttal experts
                                              3/21/25
serve rebuttal expert reports.                          identified
                                                        35 days after rebuttal expert
Parties complete expert depositions.          4/25/25
                                                        reports served
Parties file any dispositive                            14 days after expert depositions
                                              5/9/25
and Daubert motions.                                    complete
Parties file oppositions to dispositive and
                                              6/13/25   35 days after motions filed
Daubert motions.
Parties file replies
                                              7/3/25    19 days after oppositions filed
to dispositive motions.




                                               2
          Case 1:23-cv-10684-IT Document 468 Filed 10/18/24 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on October 18, 2024, I served a copy of the foregoing document via

ECF to all counsel of record.

                                                           /s/ Andrew J. Rossman
                                                           Andrew J. Rossman
                                                           Counsel for Defendant and
                                                           Counterclaim-Plaintiff AIC




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